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 1

 2                        IN THE CIRCUIT COURT OF THE STATE OF OREGON

 3                                FOR THE COUNTY OF WASHINGTON

 4

 5
     STATE OF OREGON,                                     Case No.; Cl42231CR
 6
                                          Plaintiff,
 7                                                        DECLARATION OF COUNSEL
     vs.
 8
     ANTHONY LENAIRE CURRY,
 9
                                           Defendant.
10
                                              DECLARATION
11
     I, Westbrook Johnson, state as follows
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             1. I am the attorney representing Anthony Lenaire Curry in the above stated case;
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             2. Prosecuting this case is Multnomah County Deputy District Attorney Glen Ujifusa;
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             3. I requested the grand jury notes taken related to the allegations of using a child in
15
                  display of sexual conduct (ORS 163.670);
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             4. On January 20, 2022, DDA Ujifusa provided the notes;
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             5. The following is based on my review of the record, the grand jury notes, and
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                  conversations with Mr. Curry;
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             6. On September 15, 2014, DDA Kevin Barton presented testimony in support of seven
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                  counts of using a child in display of sexual conduct - the same allegations in this
21
                  case;
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23
     DECLARATION OF COUNSEL - 1

                                                        Law Office of Westbrook Johnson, LL
      5220 NE Sandy Blvd.
      Portland, Oregon 97213
      m. (503} 389 -  0582
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                                                                                                        I
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 1          7. The grand jury issued a True Bill resulting in an Indictment in court case number

 2              C142049CR and DA case number 325592;

 3          8. The grand jury note taker, Christina Pham, wrote, in relevant part,

 4                  a. "Date: September 15, 2014 (2-4pm)"

 5                  b. "*****grand jury continued****''

 6                  c. Witnesses:

 7                  Anastasia Galik (victim)
                    Diane Jensen (DA's office)
 8                  Paul Dietrich (dolphin II manager)
                    Jonathan Herkemath (Stars GM at two locations)
 9                  Tony Lee (sunset strip)
                    Chadwick Opitz (detective Beaverton police)

            9. The Indictment in C142049CR from September 15, 2014, is noted in the court
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                electronic record, but is not accessible in the Oregon eCourt Case Information
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                system;
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            10. On September 29, 2014, DDA Kevin Barton returned to the grand jury seeking a new
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                Indictment in court case number Cl42231CR (this case) and DA case number
15
                326234;
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            11. Notes from notetaker, Debbie Blair, state the following in total, "Witness: No
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                witnesses. Fixed typo and signed new indictment. Barton received medical records
18
                from McKenzie Willamette Medical Center and opened them up in our presence.
19
                Records from sexual assault exam in emergency room of victim" (emphasis added);
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            12. On September 30, 2014, DDA Barton dismissed the Indictment in court case number
21
                C142049CR and DA case number 325592 (Defendant's Exhibits A and C);
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     DECLARATION OF COUNSEL - 2

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 1          13. On that same day and in that same hearing, Mr. Curry was arraigned on the new

 2              Indictment in court case number C142231CR and DA case number 326234

 3              (Defendant's Exhibit B).

 4

 5    I hereby declare that the above statement is true to the best of my knowledge and belief,
       and that I understand it can be used as evidence in court and is subject to penalty for
 6                                           perjury.

 7          DATED: July 6, 2022.

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     DECLARATION OF COUNSEL - 3

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                                                                                       .I
